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 4
 5                           UNITED STATES DISTRICT COURT
 6                         NORTHERN DISTRICT OF CALIFORNIA

 7
      ELON MUSK, et al.,                          Case No. 4:24-cv-04722-YGR
 8
                       Plaintiffs,                Assigned to Hon. Yvonne Gonzalez Rogers
 9
10        v.                                      [PROPOSED] ORDER GRANTING
                                                  PLAINTIFFS’ MOTION TO STRIKE
11    SAMUEL ALTMAN, et al.,                      OPENAI DEFENDANTS’ FIFTY-FIVE
                                                  DEFENSES
12
                       Defendants.
                                                  Date:    August 5, 2025
13
                                                  Time:    2:00 p.m.
14                                                Place:   Courtroom 1 (4th Fl.)
                                                           1301 Clay St.
15                                                         Oakland, CA 94612
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                                                                 CASE NO. 24-CV-04722-YGR
30                                     [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOT. TO STRIKE
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 1                                         [PROPOSED] ORDER

 2           This matter comes before the Court on Plaintiffs Elon Musk and X.AI Corp.’s Motion to

 3 Strike OpenAI Defendants’ Fifty-Five Defenses pursuant to Federal Rules of Civil Procedure 8 and

 4 12(f), and Civil Local Rule 7-2. The Court, having reviewed the Motion, all responses and replies
 5 thereto, the pleadings and papers on file, and the applicable law hereby GRANTS the Motion.
 6                                            BACKGROUND

 7           OpenAI’s original answer contained twelve separately denominated defenses. Dkt. 147 at

 8 94-96. Following the Court’s granting in part and denying in part OpenAI’s motion to dismiss, Dkt.
 9 163, Plaintiffs filed their Second Amended Complaint (“SAC”), containing five fewer causes of
10 action. Dkt. 170 at 1-2. OpenAI responded to this narrowed pleading by filing fifty-five separately
11 denominated defenses. Dkt. 176 at 117-24. Thereafter, Plaintiffs brought this timely motion to
12 strike.
13                                          LEGAL STANDARD

14           A court “may strike from a pleading an insufficient defense or any redundant, immaterial,

15 impertinent, or scandalous matter.” Fed. R. Civ. P. 12(f). “The function of a [Rule] 12(f) motion to
16 strike is to avoid the expenditure of time and money that must arise from litigating spurious issues
17 by dispensing with those issues prior to trial.” Whittlestone, Inc. v. Handi–Craft Co., 618 F.3d 970,
18 973 (9th Cir. 2010) (quoting Fantasy, Inc. v. Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993) rev’d on
19 other grounds, 510 U.S. 517 (1994)). Because Rule 12(f) motions are disfavored, “courts often
20 require a showing of prejudice by the moving party before granting the requested relief.” Sanchez v.
21 City of Fresno, 914 F. Supp. 2d 1079, 1122 (E.D. Cal. 2012) (quoting Cal. Dep’t of Toxic
22 Substances Control v. Alco Pac., Inc., 217 F. Supp. 2d 1028, 1033 (C.D. Cal. 2002)).
23                                               ANALYSIS

24           The Court holds that OpenAI’s sixteen affirmative defenses (Nos. 4-6, 12-14, 16-18, 46-49,

25 51-52, and 55) fail to satisfy the plausibility standard established in Bell Atlantic Corp. v. Twombly,
26 550 U.S. 544 (2007), and Ashcroft v. Iqbal, 556 U.S. 662 (2009). These defenses contain no factual
27 allegations whatsoever and consist solely of legal conclusions and labels, which are insufficient as a
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                                                                           CASE NO. 24-CV-04722-YGR
30                                               [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOT. TO STRIKE
     Case 4:24-cv-04722-YGR         Document 186-2          Filed 06/26/25      Page 3 of 3



 1 matter of law. Winns v. Exela Enter. Sols., Inc., No. 4:20-CV-06762-YGR, 2021 WL 5632587, at

 2 *2 (N.D. Cal. Dec. 1, 2021).
 3          The Court further holds that thirty-seven of OpenAI’s purported defenses (Nos. 1-2, 7-11,

 4 15, 19-43, 50, 53-54) are negative defenses that merely restate denials contained elsewhere in its
 5 Answer and are therefore impermissibly duplicative. Barnes v. AT & T Pension Ben. Plan-
 6 Nonbargained Program, 718 F. Supp. 2d 1167, 1173-74 (N.D. Cal. 2010).
 7          The Court also determines that all fifty-five defenses overlap to such a degree while failing

 8 to contain any meaningful information beyond bare labels that they are essentially
 9 incomprehensible and additionally fail to provide Plaintiffs with fair notice of the defenses asserted,
10 as required by Wyshak v. City National Bank, 607 F.2d 824, 827 (9th Cir. 1979).
11          The clearly apparent insufficiency of these defenses is prejudicing Plaintiffs. First, Plaintiffs

12 cannot conduct meaningful discovery on defenses lacking any factual or legal specificity. Second,
13 the OpenAI Defendants’ use of the defenses to significantly expand the scope of discovery imposes
14 significant cost and burden on Plaintiffs and third parties in these expedited Phase One proceedings.
15                                              CONCLUSION

16          For the foregoing reasons, Plaintiffs’ motion to strike is GRANTED. All of OpenAI’s

17 separately denominated defenses are STRICKEN from its pleading.
18
19 IT IS SO ORDERED this ____ day of _________________, 2025.
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                                                          The Honorable Yvonne Gonzalez Rogers
23                                                           United States District Court Judge
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                                                                            CASE NO. 24-CV-04722-YGR
30                                                [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOT. TO STRIKE
